~~ §‘-I Case 3:06-cr-00362-G Documentl Filed11/28/06 Pa®+e$-i-%SWJ '.-~

 

NORTHERP~ D§STR§CT GI` TEXAS
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y IN THE UNITED sTATEs DISTRICT COU R_T*j
” FoR THE NoRTHERN DISTRICT oF TEXAS’ ` Ngv 2 3 2006
DALLAS DIVISIoN `*

 

 

 

 

 

 

 

 

UNITED STATES OF AMERICA §

§
V. §

§ No. 27 1 0 Lé, ’ ,
JUAN DAVID oRTIz (1) § w ?>h ?/ &
DANIEL MARTINEZ (2) §
RUDOLPHO GONZALES (3) §
' §

ME_NI
The Grand Jury Charges:
®MB

Possession of Methamphetamine With Intent to Distribute and Aiding and Abetting
(Violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(l)(C) and 18 U.S.C. § 2)

On or about April 18, 2006, in the Dallas Division of the Northern District of Texas,
defendants, Juan David Ortiz and Rudolpho Gonzales, aided and abetted by one another,
did knowingly and intentionally possess With intent to distribute a mixture and substance

containing a detectable amount of methamphetamine, a Schedule ll controlled substance.

In Violation of21 U.S.C. §§ 84l(a)(l) and 84l(b)(1)(C) and 18 U.S.C. § 2.

Indictment - Page 1

 

 

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Coun_tTWQ
Conspiracy to Distribute and Possess With Intent
to Distribute a Controlled Substance
(Violation of 21 U.S.C. § 846)

Beginning in or about August, 2004, the exact date being unknown to the Grand
Jury, and continuing through on or about April 19, 2006, in the Dallas Division of the
Northem District of Texas, defendants, Juan David Ortiz, Daniel Martinez, and
Rudolpho Gonzales, did knowingly and intentionally combine, conspire, confederate,
and agree together and with others known and unknown to the Grand Jury, to distribute
and possess with intent to distribute 50 grams or more of a mixture and substance
containing a detectable amount of methamphetamine, in violation of 21 U.S.C. §§
841(a)(1) and (b)(l)(B)(viii).

In violation of 21 U.S.C. § 846.

Indictment - Page 2

 

 

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Count Three
Possession of a Firearm in Furtherance of a Drug Trafflcking Crime
and Aiding and Abetting
(Violation of 18 U.S.C. §§ 924(c)(1)(A) and 2)

On or about April 19, 2006, in the Dallas Division'of the Northern District of Texas;
defendants, Juan David Ortiz and Daniel Martinez, aided and abetted by one another, did
knowingly possess a firearm, to wit: (1) a Colt, model 1911, .45 caliber pistol bearing an
obliterated serial number; and (2) a Mossberg, model 185D, 20 gauge shotgun, bearing no
serial number, as modified having a barrel of less than 18 inches in length, and an overall
length of less than 26 inches, a weapon commonly known as a “sawed-off" shotgun, in
iiirtherance of the commission of a drug trafficking crime, namely the conspiracy to
distribute and possess with intent to distribute 50 grams or more of a mixture and substance
containing a detectable amount of methamphetamine, in violation of 21 U.S.C. § 846, for

which the defendants may be prosecuted in a court of the United States.

In violation of 18 U.S.C. § 924(c)(1)(A).

Indictment - Page 3

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Count Four
Felon in Possession of a Firearm
(Violation of 18 U.S.C. §§ 922(g)(1) andv924(a)(2))

On or about April 19, 2006 in the Dallas Division of the Northern District of Texas,
defendant, Juan David Ortiz, having been convicted of a crime punishable by imprisonment
for a term exceeding one year, did knowingly and unlawhllly possess in and affecting
commerce a firearm, to wit: (1) a Colt, model 1911, .45 caliber pistol bearing an obliterated
serial number; and (2) a Mossberg, model 185D, 20 gauge shotgun, bearing no serial number,
as modified having a barrel of less than 18 inches in length, and an overall length of less than
26 inches, a weapon commonly known as a “sawed-off” shotgun, both of` Which had

previously been shipped and transported in interstate and foreign commerce.

111 violation Of 18 U.s.C. §§ 922(g)(1) and 924(a)(2).

' Indictment - Page 4

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Count Five
Felon in Possession of a Firearrn

(Violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(2))

On or about April 19, 2006 in the Dallas Division of the Northern District of Texas,
defendant, Daniel Martinez, having been convicted of a crime punishable by imprisonment
for a term exceeding one year, did knowingly and unlawfully possess in and affecting
commerce a firearm, to wit: (1) a Colt, model 1911, .45 caliber pistol bearing an obliterated
serial number; and (2) a Mossberg, model 185D, 20 gauge shotgun, bearing no serial number,
as modified having a barrel of less than 18 inches in length, and an overall length of less than
26 inches, a weapon commonly known as a “sawed-off” shotgun, both of which had
previously been shipped and transported in interstate and foreign commerce.

In violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(2).

Indictment - Page 5

 

 

Case 3:06-cr-00362-G Documentl Filed 11/28/06

A TRUE BILL.

FOREPERSON

RICHARD B. ROPER
UNITED STATES ATTORNEY

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JoRyA A. oNIG `§/

As’sistant United States Attomey

New York Bar No. 4047122 (JK-2086)
1100 Commerce Street, Third Floor
Dallas, Texas 75242-1699

Telephone: 214.659.8600

Facsimile: 214.767.0978

Email: jordan.konig@usdoj . gov

Indictment - Page 6

Page 6 of 12 Page|D 6

 

 

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:‘Q;\i IN THE UNITED STATES DISTRICT CO

" FOR THE NORTHERN DISTRICT OF TE
DALLAS DIVISION

 
  

 

THE UNITED STATES OF AMERI

 

 

V.
JUAN DAvID oRTIZ (1)
DANIEL MARTINEZ (2)
RUDoLPHo GONZALES (3) l .
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21 U.S.C. §§ 841(a)(1) and 841(b)(1)(D)
and 18 U.S.C. § 2
Possession of Methamphetamine With
Intent to Distribute and Aiding and Abetting

21 U.S.C. § 846
Conspiracy to Distribute and Possess With Intent to
Distribute a Controlled Substance

18 U.S.C. § 924(c)(1)(A) and 2
Possession of a Firearm in Furtherance
of a Drug Trafficking Crime and Aiding and Abetting

18 U.s.C. § 922(g)(1) and 924(a)(2)
Felon in Possession of a Firearm

5 Counts

 

A true bill rendered

 

DALLAS FOREPERSON

Filed in open court this &X " day of November, A.D., 2006.

 

Clerk

 

 

‘ ' Case 3:06-cr-00362-G Document 1 Filed 11/28/06 Page 8 of 12 Page|D 8

WARRANTS TO ISSUE AS TO: JUAN DAVID ORTIZ; DANIEL MARTINEZ; AND
RUDOL.PHO GONZALES.

 

 

 

 

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x 'Crimin.a‘l Case Cover Sheet

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Revised 3/5/98
CumPnt 1 Fl|Pd 11/28/06 Page Q of 19 Pagpln Q

 

UNITED STATES DISTRICT CoURT
NORTHERN DISTRICT oF TEXAS

1. Defendant Information

Juvenile: E Yes w No

 

Related Case Information

Superseding Indictment: EYes g No New Defendant: § Yes :i No

Pending CR Case in NDTX: E Yes § No Iers, number:

Search Warrant Case Number

 

 

 

 

 

 

If Yes, Matter to be sealed: R 20 from District of

§ Yes :] NO Magistrate Case Number:

Defendant Name JUAN DAVID ORTIZ

Alias Name § '

Address ?>?` 0 L€ 02 319 `z " é" g \>

 

 

County in which offense was committed:

Dallas. Texas

Bar # NeW York 4047122 (JK-2086)

 

2. U.S. Attomey Information
AUSA JORDAN A. KONIG
3 . Interpreter
EYes § No

If Yes, list language and/or dialect:

 

4. Location Status WARRANT TO ISSUE

Arrest Date -

§§

l_l

Already in Federal Custody
Already in State Custody
On Pretrial Release

5. U.S.C. Citations

Total # of Counts as to This Defendant: 4

Citation

21 U.S.C. §§ 84l(a)(1)
and 84l(b)(1)(D) and
18 U.S.C. § 2

21 U.S.C. § 846

18 U.S.C. §§ 924(c)(1)(A)
and 18 U.S.C. § 2

E Petty m Misdemeanor -Felony

Description of Offense Charged Count(s)
Possession of Methamphetamine
With Intent to Distribute and
Aiding and Abetting 1
Conspiracy to Distribute and
Possess With Intent to
Distribute a Controlled Substance 2

Possession of a Firearm in

Furtherance of a Drug

Trafficking Crime and

Aiding and Abetting 3

 

18 U.S.C. §§ 922(g)(1) Felon in Possession of , '
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65 § / /)

Date: November 14 2006 Signature of AUSA \\.“ >’".§»t/v~ é‘
/R,BQNAJ KoNI@\//

 

 

 

'Crimina‘l Case Cover Sheet 1 0 Revised 3/5/98
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UNITED STATES DISTRICT CoURT Related Case Inf°rma‘i°“
NORTHERN DISTRICT OF TEXAS Superseding lndictment: :iYes § No New Defendant: § Yes m No
l. Defendant Information Pending CR Case in NDTX: § Yes § No If Yes, number:

Search Warrant Case Number

 

Juvenile: :i Yes ® No

If Yes, Matter to be sealed:
:l Yes E NO Magistrate Case Number:

R 20 from District of

 

 

 

 

Defendant Name DANIEL MARTINEZ

Alias Name

Address B‘C)LF CK/ %G l " €>" CZ.>

 

County in Which offense was committed: Dallas, Texas

2. U.S. Attorney Information
AUSA JORDAN A. KONIG Bar # New York 4047122 (JK-2086)

3. Interpreter

EYes ® No If Yes, list language and/or dialect:

 

4. Location Status WARRANT TO ISSUE
Arrest Date -

E Already in Federal Custody
Already in State Custody
On Pretrial Release

5. U.S.C. Citations
Total # of Countsas to This Defendant: 3 :i Petty :i Misdemeanor -Felony
Citation Description of Offense Charged Count(s)
21 U.S.C. § 846 Conspiracy to Distribute and
Possess With Intent to
Distribute a Controlled Substance 2

1 18 U.S.C. §§ 924(c)(1)(A) Possession of a Firearm in
l and 18 U.S.C. § 2 Furtherance of a Drug
Traf`ficking Crime and
Aiding and Abetting 3

18 U.S.C. §§ 922(g)(1) Felon in Possession of
and 924(a)(2) a Firearm 5

Date November 14 2006 signature ofAUsA 03 J/\/V !// 7 x

JoyAN A. KoNI<é/`_/

 

 

Criminal Case Cover Sheet Revised 3/5/98
Case 3:06-cr-00362-G Documpnr 1 121le 11/92/06 pagp 19 rif 19 Dngpln 19

 

 

 

 

 

 

 

 

 

 

 

 

UNITED STATES DISTRICT CoURT Rela*=ed Case Inf°rmati°“
NORTHERN DISTRICT OF TEXAS Superseding Indictment: :iYes § No New Defendant: § Yes § No
1. Defendant Information Pending CR Case in NDTX: E Yes ij No If Yes, number:
Juvenile_ [:] Yes m NO Search Warrant Case Number
If Yes, Matter to be sealed: R 20 from District Of
m Yes m NO Magistrate Case Number:
Defendant Name , RUDOLPHO GONZALES
Alias Name
Address 53 O(F C»@ 3b1 ” 6"3' CB>
County in which offense was committed: Dallas_ Texas
2. U.S. Attorney Information
AUSA JORDAN A. KONIG Bar # New York 4047122 (JK-2086)
3. Interpreter

EYes ® No If Yes, list language and/or dialect:

 

4. Location Status WARRANT TO ISSUE
Arrest Date -

E Already in Federal Custody
Already in State Custody
On Pretrial Release

5. U.S.C. Citations
Total # of Counts as to This Defendant: 2 m Petty E Misdemeanor -`elony
Citation Description of Offense Charged Count(s)
21 U.S.C. §§ 841(a)(1) Possession of Phencyclidine With
and 841(b)(1)(D) and Intent to Distribute and
18 U.S.C. § 2 Aiding and Abetting 1
21 U.S.C. § 846 Conspiracy to Distribute and
Possess With Intent to
Distribute a Controlled Substance 2

" \
( \
Date: November 14 2006 Signature of AUSA: \J/Z(j\~ aj q

LQBDAN A. Ko

 

 

 

